
	OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. GIVENS

	
				
            
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. GIVENS2014 OK 70Case Number: SCBD-6153Decided: 07/15/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 70, __ P.3d __
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 


STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
BLAKE RODMAN GIVENS, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forward to this Court certified copies of the Information and Order of Deferred Sentence in which Blake Rodman Givens entered a plea of guilty to Domestic Assault &amp; Battery in the Presence of a Minor, a violation of 21 OS 664(f) (Tulsa County, CM 2011-3434); and Disturbing the Peace, a violation of 21 OS 22 (Tulsa County, CM 2011-3434). In addition, the OBA has forward certified copies of an Order Re Application to Accelerate Judgment and Sentence and the Judgment and Sentence (Tulsa County, CM 2011-3434).

Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Blake Rodman Givens is immediately suspended from the practice of law. Blake Rodman Givens is directed to show cause, if any, no later than July 28, 2014, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until August 11, 2014, to respond to Blake Rodman Givens should one be filed.

Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Blake Rodman Givens has until August 18, 2014, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until September 2, 2014, to respond.

DONE BY ORDER OF THE SUPREME COURT this 15th day of July, 2014.


/S/CHIEF JUSTICE



Colbert, C.J., Reif, V.C.J., Kauger, Watt, Winchester,Taylor, Combs and Gurich, JJ, concur;

Edmondson, J., dissents







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